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 9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11                                                ) Case No.
      ROBERT BOHLKE, individually and )
12
      on behalf of all others similarly situated, ) CLASS ACTION
13                                                )
14    Plaintiff,                                  ) COMPLAINT FOR VIOLATIONS
                                                  ) OF:
15           vs.                                  )
16                                                )    1. NEGLIGENT VIOLATIONS
                                                             OF THE TELEPHONE
      BIG THINK CAPITAL INC., and                 )          CONSUMER PROTECTION
17
      DOES 1 through 10, inclusive, and each )               ACT [47 U.S.C. §227(b)]
18    of them,                                    )    2.    WILLFUL VIOLATIONS
                                                             OF THE TELEPHONE
19                                                )          CONSUMER PROTECTION
      Defendant.                                  )          ACT [47 U.S.C. §227(b)]
20                                                )    3.    NEGLIGENT VIOLATIONS
                                                             OF THE TELEPHONE
21                                                )          CONSUMER PROTECTION
                                                  )          ACT [47 U.S.C. §227(c)]
22                                                     4.    WILLFUL VIOLATIONS
                                                  )
                                                             OF THE TELEPHONE
23                                                )          CONSUMER PROTECTION
24
                                                  )          ACT [47 U.S.C. §227(c)]
                                                  )
25                                                )
26                                                ) DEMAND FOR JURY TRIAL
                                                  )
27                                                )
28                                                )


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 1          Plaintiff ROBERT BOHLKE (“Plaintiff”), individually and on behalf of all
 2    others similarly situated, alleges the following upon information and belief based
 3    upon personal knowledge:
 4                               NATURE OF THE CASE
 5          1.     Plaintiff brings this action individually and on behalf of all others
 6    similarly situated seeking damages and any other available legal or equitable
 7    remedies resulting from the illegal actions of BIG THINK CAPITAL INC.
 8    (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 9    Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
10    Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related regulations, specifically the
11    National Do-Not-Call provisions, thereby invading Plaintiff’s privacy.
12                              JURISDICTION & VENUE
13          2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
14    a resident of California, seeks relief on behalf of a Class, which will result in at
15    least one class member belonging to a different state than that of Defendant, a New
16    York company. Plaintiff also seeks up to $1,500.00 in damages for each call in
17    violation of the TCPA, which, when aggregated among a proposed class in the
18    thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
19    Therefore, both diversity jurisdiction and the damages threshold under the Class
20    Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
21          3.     Venue is proper in the United States District Court for the Central
22    District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
23    business within the State of California and Plaintiff resides within the County of
24    Los Angeles.
25                                        PARTIES
26          4.     Plaintiff, ROBERT BOHLKE (“Plaintiff”), is a natural person
27    residing in Canyon Country, California and is a “person” as defined by 47 U.S.C.
28    § 153(39).


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 1          5.     Defendant, BIG THINK CAPITAL INC. (“Defendant”) is a loan
 2    company, and is a “person” as defined by 47 U.S.C. § 153(39).
 3          6.     The above named Defendant, and its subsidiaries and agents, are
 4    collectively referred to as “Defendants.” The true names and capacities of the
 5    Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 6    currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 7    names. Each of the Defendants designated herein as a DOE is legally responsible
 8    for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 9    Complaint to reflect the true names and capacities of the DOE Defendants when
10    such identities become known.
11          7.     Plaintiff is informed and believes that at all relevant times, each and
12    every Defendant was acting as an agent and/or employee of each of the other
13    Defendants and was acting within the course and scope of said agency and/or
14    employment with the full knowledge and consent of each of the other Defendants.
15    Plaintiff is informed and believes that each of the acts and/or omissions complained
16    of herein was made known to, and ratified by, each of the other Defendants.
17                               FACTUAL ALLEGATIONS
18          8.     Beginning in or around November of 2017, Defendant contacted
19    Plaintiff on Plaintiff’s cellular telephone number ending in -9695, in an attempt to
20    solicit Plaintiff to purchase Defendant’s services.
21          9.     Defendant used an “automatic telephone dialing system” as defined
22    by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
23          10.    Defendant contacted or attempted to contact Plaintiff from a telephone
24    number confirmed to be Defendant’s number.
25          11.    Defendant’s calls constituted calls that were not for emergency
26    purposes as defined by 47 U.S.C. § 227(b)(1)(A).
27          12.    Defendant’s calls were placed to telephone number assigned to a
28    cellular telephone service for which Plaintiff incurs a charge for incoming calls


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 1    pursuant to 47 U.S.C. § 227(b)(1).
 2          13.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 3    express consent” to receive calls using an automatic telephone dialing system or an
 4    artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 5    227(b)(1)(A).
 6          14.    Further, Plaintiff’s cellular telephone number ending in -9695 was
 7    added to the National Do-Not-Call Registry on or about July 27, 2003.
 8          15.    Defendant placed multiple calls soliciting its business to Plaintiff on
 9    his cellular telephone ending in -9695 in or around November of 2017.
10          16.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
11    64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
12          17.    Plaintiff received numerous solicitation calls from Defendant within a
13    12-month period.
14          18.    Defendant continued to call Plaintiff in an attempt to solicit its
15    services and in violation of the National Do-Not-Call provisions of the TCPA.
16          19.    Upon information and belief, and based on Plaintiff’s experiences of
17    being called by Defendant after being on the National Do-Not-Call list for several
18    years prior to Defendant’s initial call, and at all relevant times, Defendant failed to
19    establish and implement reasonable practices and procedures to effectively prevent
20    telephone solicitations in violation of the regulations prescribed under 47 U.S.C. §
21    227(c)(5).
22                                 CLASS ALLEGATIONS
23          20.    Plaintiff brings this action individually and on behalf of all others
24    similarly situated, as a member the two proposed classes (hereafter, jointly, “The
25    Classes”).
26          21.    The class concerning the ATDS claim for no prior express consent
27    (hereafter “The ATDS Class”) is defined as follows:
28



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 1                 All persons within the United States who received any
                   solicitation/telemarketing   telephone   calls    from
 2                 Defendant to said person’s cellular telephone made
 3                 through the use of any automatic telephone dialing
                   system or an artificial or prerecorded voice and such
 4
                   person had not previously consented to receiving such
 5                 calls within the four years prior to the filing of this
 6
                   Complaint

 7
            22.    The class concerning the National Do-Not-Call violation (hereafter
 8
      “The DNC Class”) is defined as follows:
 9
10                 All persons within the United States registered on the
                   National Do-Not-Call Registry for at least 30 days, who
11                 had not granted Defendant prior express consent nor had
12                 a prior established business relationship, who received
                   more than one call made by or on behalf of Defendant
13
                   that promoted Defendant’s products or services, within
14                 any twelve-month period, within four years prior to the
15                 filing of the complaint.
16
            23.    Plaintiff represents, and is a member of, The ATDS Class, consisting
17
      of all persons within the United States who received any collection telephone calls
18
      from Defendant to said person’s cellular telephone made through the use of any
19
      automatic telephone dialing system or an artificial or prerecorded voice and such
20
      person had not previously not provided their cellular telephone number to
21
      Defendant within the four years prior to the filing of this Complaint.
22
            24.    Plaintiff represents, and is a member of, The DNC Class, consisting
23
      of all persons within the United States registered on the National Do-Not-Call
24
      Registry for at least 30 days, who had not granted Defendant prior express consent
25
      nor had a prior established business relationship, who received more than one call
26
      made by or on behalf of Defendant that promoted Defendant’s products or services,
27
      within any twelve-month period, within four years prior to the filing of the
28



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 1    complaint.
 2          25.    Defendant, its employees and agents are excluded from The Classes.
 3    Plaintiff does not know the number of members in The Classes, but believes the
 4    Classes members number in the thousands, if not more. Thus, this matter should
 5    be certified as a Class Action to assist in the expeditious litigation of the matter.
 6          26.    The Classes are so numerous that the individual joinder of all of its
 7    members is impractical. While the exact number and identities of The Classes
 8    members are unknown to Plaintiff at this time and can only be ascertained through
 9    appropriate discovery, Plaintiff is informed and believes and thereon alleges that
10    The Classes includes thousands of members. Plaintiff alleges that The Classes
11    members may be ascertained by the records maintained by Defendant.
12          27.    Plaintiff and members of The ATDS Class were harmed by the acts of
13    Defendant in at least the following ways: Defendant illegally contacted Plaintiff
14    and ATDS Class members via their cellular telephones thereby causing Plaintiff
15    and ATDS Class members to incur certain charges or reduced telephone time for
16    which Plaintiff and ATDS Class members had previously paid by having to retrieve
17    or administer messages left by Defendant during those illegal calls, and invading
18    the privacy of said Plaintiff and ATDS Class members.
19          28.    Common questions of fact and law exist as to all members of The
20    ATDS Class which predominate over any questions affecting only individual
21    members of The ATDS Class. These common legal and factual questions, which
22    do not vary between ATDS Class members, and which may be determined without
23    reference to the individual circumstances of any ATDS Class members, include,
24    but are not limited to, the following:
25                 a.     Whether, within the four years prior to the filing of this
26                        Complaint, Defendant made any telemarketing/solicitation call
27                        (other than a call made for emergency purposes or made with
28                        the prior express consent of the called party) to a ATDS Class


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 1                        member using any automatic telephone dialing system or any
 2                        artificial or prerecorded voice to any telephone number
 3                        assigned to a cellular telephone service;
 4                 b.     Whether Plaintiff and the ATDS Class members were damaged
 5                        thereby, and the extent of damages for such violation; and
 6                 c.     Whether Defendant should be enjoined from engaging in such
 7                        conduct in the future.
 8          29.    As a person that received numerous telemarketing/solicitation calls
 9    from Defendant using an automatic telephone dialing system or an artificial or
10    prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
11    claims that are typical of The ATDS Class.
12          30.    Plaintiff and members of The DNC Class were harmed by the acts of
13    Defendant in at least the following ways: Defendant illegally contacted Plaintiff
14    and DNC Class members via their telephones for solicitation purposes, thereby
15    invading the privacy of said Plaintiff and the DNC Class members whose telephone
16    numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
17    members were damaged thereby.
18          31.    Common questions of fact and law exist as to all members of The
19    DNC Class which predominate over any questions affecting only individual
20    members of The DNC Class. These common legal and factual questions, which do
21    not vary between DNC Class members, and which may be determined without
22    reference to the individual circumstances of any DNC Class members, include, but
23    are not limited to, the following:
24                 a.     Whether, within the four years prior to the filing of this
25                        Complaint, Defendant or its agents placed more than one
26                        solicitation call to the members of the DNC Class whose
27                        telephone numbers were on the National Do-Not-Call Registry
28                        and who had not granted prior express consent to Defendant and


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 1                       did not have an established business relationship with
 2                       Defendant;
 3                 b.    Whether Defendant obtained prior express written consent to
 4                       place solicitation calls to Plaintiff or the DNC Class members’
 5                       telephones;
 6                 c.    Whether Plaintiff and the DNC Class member were damaged
 7                       thereby, and the extent of damages for such violation; and
 8                 d.    Whether Defendant and its agents should be enjoined from
 9                       engaging in such conduct in the future.
10          32.    As a person that received numerous solicitation calls from Defendant
11    within a 12-month period, who had not granted Defendant prior express consent
12    and did not have an established business relationship with Defendant, Plaintiff is
13    asserting claims that are typical of the DNC Class.
14          33.    Plaintiff will fairly and adequately protect the interests of the members
15    of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
16    class actions.
17          34.    A class action is superior to other available methods of fair and
18    efficient adjudication of this controversy, since individual litigation of the claims
19    of all Classes members is impracticable. Even if every Classes member could
20    afford individual litigation, the court system could not. It would be unduly
21    burdensome to the courts in which individual litigation of numerous issues would
22    proceed. Individualized litigation would also present the potential for varying,
23    inconsistent, or contradictory judgments and would magnify the delay and expense
24    to all parties and to the court system resulting from multiple trials of the same
25    complex factual issues. By contrast, the conduct of this action as a class action
26    presents fewer management difficulties, conserves the resources of the parties and
27    of the court system, and protects the rights of each Classes member.
28          35.    The prosecution of separate actions by individual Classes members


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 1    would create a risk of adjudications with respect to them that would, as a practical
 2    matter, be dispositive of the interests of the other Classes members not parties to
 3    such adjudications or that would substantially impair or impede the ability of such
 4    non-party Class members to protect their interests.
 5          36.    Defendant has acted or refused to act in respects generally applicable
 6    to The Classes, thereby making appropriate final and injunctive relief with regard
 7    to the members of the Classes as a whole.
 8                              FIRST CAUSE OF ACTION
 9           Negligent Violations of the Telephone Consumer Protection Act
10                                    47 U.S.C. §227(b).
11                              On Behalf of the ATDS Class
12          37.    Plaintiff repeats and incorporates by reference into this cause of action
13    the allegations set forth above at Paragraphs 1-39.
14          38.    The foregoing acts and omissions of Defendant constitute numerous
15    and multiple negligent violations of the TCPA, including but not limited to each
16    and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
17    47 U.S.C. § 227 (b)(1)(A).
18          39.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
19    Plaintiff and the Class Members are entitled an award of $500.00 in statutory
20    damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
21          40.    Plaintiff and the ATDS Class members are also entitled to and seek
22    injunctive relief prohibiting such conduct in the future.
23                            SECOND CAUSE OF ACTION
24     Knowing and/or Willful Violations of the Telephone Consumer Protection
25                                            Act
26                                    47 U.S.C. §227(b)
27                              On Behalf of the ATDS Class
28          41.    Plaintiff repeats and incorporates by reference into this cause of action


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 1   the allegations set forth above at Paragraphs 1-39.
 2         42.    The foregoing acts and omissions of Defendant constitute numerous
 3   and multiple knowing and/or willful violations of the TCPA, including but not
 4   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
 5   and in particular 47 U.S.C. § 227 (b)(1)(A).
 6         43.    As a result of Defendant’s knowing and/or willful violations of 47
 7   U.S.C. § 227(b), Plaintiff and the ATDS Class members are entitled an award of
 8   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 9   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
10         44.    Plaintiff and the Class members are also entitled to and seek injunctive
11   relief prohibiting such conduct in the future.
12                             THIRD CAUSE OF ACTION
13          Negligent Violations of the Telephone Consumer Protection Act
14                                   47 U.S.C. §227(c)
15                             On Behalf of the DNC Class
16         45.    Plaintiff repeats and incorporates by reference into this cause of action
17   the allegations set forth above at Paragraphs 1-39.
18         46.    The foregoing acts and omissions of Defendant constitute numerous
19   and multiple negligent violations of the TCPA, including but not limited to each
20   and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
21   47 U.S.C. § 227 (c)(5).
22         47.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
23   Plaintiff and the DNC Class Members are entitled an award of $500.00 in statutory
24   damages, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
25         48.    Plaintiff and the DNC Class members are also entitled to and seek
26   injunctive relief prohibiting such conduct in the future.
27   ///
28   ///


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 1                             FOURTH CAUSE OF ACTION
 2    Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                             Act
 4                                   47 U.S.C. §227 et seq.
 5                               On Behalf of the DNC Class
 6         49.      Plaintiff repeats and incorporates by reference into this cause of action
 7   the allegations set forth above at Paragraphs 1-39.
 8         50.      The foregoing acts and omissions of Defendant constitute numerous
 9   and multiple knowing and/or willful violations of the TCPA, including but not
10   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
11   in particular 47 U.S.C. § 227 (c)(5).
12         51.      As a result of Defendant’s knowing and/or willful violations of 47
13   U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled an award of
14   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
15   § 227(c)(5).
16         52.      Plaintiff and the DNC Class members are also entitled to and seek
17   injunctive relief prohibiting such conduct in the future.
18                                 PRAYER FOR RELIEF
19    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
20                              FIRST CAUSE OF ACTION
21          Negligent Violations of the Telephone Consumer Protection Act
22                                     47 U.S.C. §227(b)
23                As a result of Defendant’s negligent violations of 47 U.S.C.
24                  §227(b)(1), Plaintiff and the ATDS Class members are entitled to and
25                  request $500 in statutory damages, for each and every violation,
26                  pursuant to 47 U.S.C. 227(b)(3)(B).
27                Any and all other relief that the Court deems just and proper.
28   ///


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 1                         SECOND CAUSE OF ACTION
 2   Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                         Act
 4                                 47 U.S.C. §227(b)
 5              As a result of Defendant’s willful and/or knowing violations of 47
 6              U.S.C. §227(b)(1), Plaintiff and the ATDS Class members are
 7              entitled to and request treble damages, as provided by statute, up to
 8              $1,500, for each and every violation, pursuant to 47 U.S.C.
 9              §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
10              Any and all other relief that the Court deems just and proper.
11                          THIRD CAUSE OF ACTION
12       Negligent Violations of the Telephone Consumer Protection Act
13                                 47 U.S.C. §227(c)
14              As a result of Defendant’s negligent violations of 47 U.S.C.
15              §227(c)(5), Plaintiff and the DNC Class members are entitled to and
16              request $500 in statutory damages, for each and every violation,
17              pursuant to 47 U.S.C. 227(c)(5).
18              Any and all other relief that the Court deems just and proper.
19                         FOURTH CAUSE OF ACTION
20   Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                         Act
22                                 47 U.S.C. §227(c)
23              As a result of Defendant’s willful and/or knowing violations of 47
24              U.S.C. §227(c)(5), Plaintiff and the DNC Class members are entitled
25              to and request treble damages, as provided by statute, up to $1,500,
26              for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
27              Any and all other relief that the Court deems just and proper.
28       53.    Pursuant to the Seventh Amendment to the Constitution of the United


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 1   States of America, Plaintiff is entitled to, and demands, a trial by jury.
 2
 3
 4         Respectfully Submitted this 20th Day of June, 2018.
 5                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 6
                                       By: /s/ Todd M. Friedman
 7                                         Todd M. Friedman
 8
                                           Law Offices of Todd M. Friedman
                                           Attorney for Plaintiff
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